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  NICOLE and BLAINE DEMONT
  on behalf of their minor daughter, J.D.

                             Plaintiffs,

                                                                      COMPLAINT




          NO% COMES Plaintiff Nlcole Demont on behalf of her minor daughter, J.D. and,

  through counsel submits the following Complaint against Defendant RSU                 434.


                                                    PARTIES

                   Plaintiffs Nicole and Blaine Demont are residents         of the   Town   of Alton,   County

  of Penobscot, Maine. Plaintiffs'inor          daughter,    J.D. is a 14-year old student at Old Town        High

  School which operates within RSU 034. At the time             of the events referenced     in this Complaint,

  J.D. was a student in     eighth grade and ninth grade.      J.D. was diagnosed     with epilepsy at age four

  and has been eligible to receive special education and related services since early elementary

  school. Her Individual Education Plan (IEP) lists "Other Health Impaired" as her disability.

                   Defendant Regional School Unit           N4 (RSU 434) is a public     educational     institution

  serving students in the towns       of Alton, Bradley,    and Old Town, Maine. A Regional School Unit,

  as defined by 20-A M.R.S.A. $ l(24-8), means an "RSU" is a state-approved                  organizational

  structure   of school   administration   for a particular region of the state.
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          3.       At the end   of J.D.'s seventh   grade year (2009-2010), Plaintiffs provided RSU 434

  with a written recommendation       from   J.D.'s treating neurologist, Dr. Morrison,    setting forth a


  plan for responding to a grand mal seizure which included injecting Midazolam, a liquid anti-

  seizure medication, into   J.D.'s mouth. The      plan did not require an injection into the soft tissue       of

  J.D.'s mouth    but a relatively simple procedure in which the school nurse or a school

  administrator   or staffer would "squirt" the medication into     J.B.'s mouth    via plastic syringe.

                   At the annual meeting to address      J.D.'s Individualized Education Plan ("IEP") in

  May 2010, the IEP Team, which included Plaintiffs, discussed the new seizure treatment plan

  (the "Plan" ). The IEP Team, including RSU 834 administrators,           agreed to implement the Plan.

                    During the late spring or early summer       of 2010, the school    nurse informed

  Plaintiffs that the district was unable to comply with the Plan. It was Plaintiffs        understanding

  that RSU 434 was unable to comply with the Plan because            (1) school   policy prohibited use     of

  syringes without more specific authorizations,        and (2) RSU   434 felt it required more information

  and guidance from Dr. Morrison.

                   In October 2010, Plaintiffs provided RSU 034 with more specific information and

  all required authorizations    from Plaintiffs and Dr. Morrison.      After providing the information,

  Plaintiffs assumed that the Plan would be implemented          according to Dr. Morrison's

  recommendations      and the IEP would be modified to reflect the incorporation         of the   Plan.

  However, neither the Plan nor the IEP were changed.

                   Plaintiffs first learned that the Plan and IEP were not changed at        J.D.'s Annual

  IEP Meeting in April 2011. When Plaintiffs questioned why the changes had not been made, the

  school nurse told Plaintiffs that RSU 434 was "working on           it". The school   nurse did not provide
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  a response to Plaintiffs'uestions                as to why they were not alerted to the fact that RSU        N4    did


  not incorporate DI'. Morrison s recomIYlendatlons                 into the Plan.

                       Unfortunately,      J.D. experienced a seizure cluster (3 or more seizures            within 24


  hours) in mid to late May          2011, toward the       end   of her 8'" grade year.

                       RSU 434 failed to follow the Plan. The school did not have J.D.'s Midazolam and

  syringes stored at the school and did not call              911 when the seizure lasted more than          3 minutes.


             10.       Fortunately    for J.D., her grandparents         were notified   of the episode   and arrived in


  time to administer Midazolam to address the seizures.

             11..      Following this incident, Plaintiffs became extremely concerned that RSU 434 was

  unable to ensure the safety           of their    daughter at school or during school-related       activities.

             12.       Throughout       the summer       of 2011, Plaintiffs continued to work with the school

  nurse, Dr, Morrison, and RSU 434 officials to address the situation and modify the Plan and IEP.

             13.       At the request      of RSU N4„Dr.Morrison            wrote another seizure treatment plan on

  September 20, 2011.'laintiffs provided a copy                    of this to the school nurse. RSU 434 failed to

  implement         Dr. Morrison's recommendations.

             14.       Unfortunately,      J.D. experienced       another seizure cluster while at Old Town High

  School (her freshman year) on October 24, 2011.

             15.       RSU 434 again failed to implement Or. Momson's recommendations.                         This time,

  over 35 minutes had elapsed before                 J.D. was treated.    As in May   2011, 911 was never called.

  Instead,    J.D.'s grandmother         was called again to the school and she administered              the medication.

             16.       On November 22, Plaintiffs and other RSU 034 staff attended                  a special IEP Team

  meeting during which the health plan was finally modified to comply with Dr. Morrison's Plan.




  'here   was no material difference between Dr. Morrison's earlier recommendations          and the 9/20/11 Plan.
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                                                     COUNT I
                                            Disability Discrimination
                                       Rehabilitation Act Q9 U.S.C. 5 794)

           17.       Plaintiffs reallege Paragraphs       1-16 and incorporates them herein by reference.

           18.        Section 504 of the Rehabilitation       Act provides that "no otherwise qualified

  individual     with a disability...shall     solely by reason   of her or his disability, be excluded from the

  participation     in, be denied the benefits of, or be subjected to discrimination          under any program or

  activity receiving Federal financial assistance." 29 U.S.C. $ 794.

           19.        Based on her diagnosis of epilepsy, J.D. is a qualified individual with a disability.

  She is entitled to reasonable accommodations             that will enable her to have meaningful       access to

  the benefits    of a public education.

           20.        Upon information       and belief, Defendant, a public school unit, receives federal

  flinanclal assistance.

           21.        Defendant failed without justification to carry out a Plan designed by            J.D.'s

  physician to administer medication at the onset            of a seizure. The purpose of the Plan      was to

  ensure   J.D. would be protected       in the event    of a seizure   during the school day. Without the

  availability    of timely   administration     of medication, J.D. is not safe at school     during the school

  day. In order to have meaningful           access to the benefits of a public education, J.D. needs to have

  this particular health plan in place.

           22.       By the above-described         actions, Defendant unlawfully       excluded J,D. from

  participation    in, denied her the benefits of, or subjected her to discrimination           under a program or

  activity receiving federal financial assistance solely by reason            of her   disability and failed to

  provide reasonable accommodations              requested by Plaintiffs.
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            23.     Defendant's     failure to timely administer    J.D.'s medication      proximately                     caused

   injuries sustained by    J.D. and her parents.

            %HEREFORE, Plaintiffs demand judgment against Defendant for such damages as shall

   be reasonable and such legal and equitable relief as the Court may deem just, including an award

   of reasonable   attorneys fees pursuant to 29 U.S.C. $ 794, together with interest and costs.



                                               COUNT II
                                      Disability Disci iHlination
      Title II Of the Americans VA'th Disabihties Act, as Amended (42 U.S.C. 5 12132 Q0089

           24.      Plaintiffs re-allege Paragraphs      1-23 and incorporate them herein by reference.

           25.      Title II of the Americans with Disabilities Act (ADA), as amended, provides that

   "no qualified individual with a disability shall„by reason of such disability, be excluded from

   participation   in or denied the benefits   of the   services, programs, or activities       of a public                 entity, or

   be subjected to discrimination      by any such    entity,"'2 U.S.C. g 12132.

           26.      Plaintiffs   minor daughter,     J.D. is a qualified   individual   with a disability and at all

   material times hereto was qualified to participate in or receive the benefits            of public   school

  programs or activities, including but not limited to the provision            of reasonable      accommodations

  based on her disability.

           27.      By their above-described actions, Defendant has unlawfully              excluded
                                                                                                         Plaintiffs'inor




          daughter from participation      in and denied her the benefits      of the   benefits   of the services,
  programs, or activities    of a public   entity solely by reason    of her disability.
           28.      Defendant failed to provide the reasonable accommodations                requested by

  Plaintiffs that would permit their minor daughter to safely attend school.

           29.      J.D. has been   injured as a direct result   of Defendants'cts or omissions.
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           WHEREFORE, Plaintiffs demand judgment against Defendant for such damages as shall

  be reasonable and such legal and equitable relief as the Court may deem just, including an award

  of reasonable    attorneys fees pursuant to 42           U.S.C. ) 12133, with interest and costs.


                                                          COUNTIIII
                                                           N~ti

           30.       Plaintiffs re-allege Paragraphs           1-29 and incorporate them herein by reference.

           31.       The Maine Tort Claims Act, which ordinarily bars private tort actions against a

  public entity, provides that "except as othenvise expresslv provided bv statuIe, all governmental

  entities shall be immune from suit on any and all tort claims seeking recovery                     of damages." 14

  M.R.S.A. $ 8103 (cmphasis supplied}.

           32.       20-A M.R.S.A, $ 6403(A) requires each Maine school board to appoint at least

  one school nurse for the school administrative                unit. The school nurse is responsible for

  supervising     and coordinating        the "health services" and "health-related         activities" for the school

  administrative     unit. (20-A M.R.S.A. $ 6043 (A)              (2)).

            33.      In addition, 20-A         M.R.S.A. $ 4009 creates civil liability for a school district          in

  circumstances      where certain school district agents or employees engage in willful, reckless, or

  grossly negligent conduct causing injuries as a result                  of acts or omissions   in rendering,   or failing

  to render, emergency medical treatment, 20-A M.R,S.A. $ 4009(4).

            34.      Defendant owed Plaintiffs a duty to adopt and implement the health services plan

  recommended        by   J.D.'s treating physician        and adopted by the IEP Team. Defendant owed

  Plaintiffs a duty to ensure that its staff and administrators               were properly trained to administer the

  Plan   (i.e., inject   liquid medication into 3.D. s mouth). In addition, Defendant                s school nurse had

  a duty to coordinate the health services for thc Unit s students, including J.D.

   Plaintiffs filed a Notice   of Claim   pursuant   to l4 M.R.S.A. g 8107 with RSU 434 on or about February     27„2012.
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             35.       Defendant breached its duty      of care   through its failure to adopt and implement       a

   reasonable health services plan and through the school nurse's failure to coordinate such health

   services required by J.D. Such breach amounts to gross negligence and/or reckless conduct.

             36.       Defendant further breached its duty        of care   by failing to render basic emergency

   medical treatment to      J.D. during her seizures    in May 2011 and         october 2011 and by failing to

   call 911 on each occasion. Such breach amounts to gross negligence and/or reckless conduct.

             37.       As a direct and proximate result     of Defendant's negligence, J.D. unnecessarily

   suffered prolonged seizures which could and should have been curtailed by the implementation

   of her   physician-recommended       health plan, and as a result, Plaintiffs have suffered damages.

             WHEREFORE, Plaintiffs demand judgment against Defendant for such damages as shall

   be reasonable and such legal and equitable relief as the Court may deem just, including an award

   of reasonable      attorneys fees, together with interest and costs.

                                                     COUNT IV
                                              N~eligent Supervision

            38.       Plaintiffs re-allege Paragraphs     1-36 and incorporate them herein by reference.

            39.       J.D. is a child who maintains a "special relationship"             with Defendant in

  accordance with section 315(b) of the Restatement (Second)                  of Torts   and Maine common law.

            40.       Defendant owes Plaintiffs a duty to exercise reasonable care and to control the

  conduct    of its   agents and employees to prevent them from causing harm and/or to ensure that

  students are protected from harm due to acts or omissions                 of Defendant's agents    and employees.

            41.       Defendant knew or had reason to know that it had at all material times the ability

  to control its agents and employees, and knew or should have known                     of the necessity   and

  opportunity      for exercising such control.
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          42.      Befendant breached its duty    of care   through its failure to adopt and implement   a

  reasonable health services plan and through the school nurse's failure to coordinate such health

  services required by   J.B.and    through its failure to properly supervise its agents and employees in

  carrying out their duties. Such breach amounts to negligent supervision         of employees.

          43.       As a direct and proximate result of Befendant's negligent supervision,        J.B.
  unnecessarily    suffered prolonged seizures which could and should have been curtailed by the

  implementation     of her   physician-recommended   health plan, and as a result, Plaintiffs have

  suffered damages.

          WHEREFORE, Plaintiffs demand judgment against Defendant for such damages as shall

  be reasonable and such legal and equitable relief as the Court may deem just, including an award

  of reasonable    attorneys fees, together with interest and costs.




          Bated: June 25, 2012




                                                             ~es A. Clifford, IPpqVBar No. 8630
                                                             Law Office of James Clifford, LLC
                                                             One Monument %'ay, 2nd Floor
                                                             Portland, Maine 04101
                                                             (207) 541-9101

                                                             Attorney for Plaintiffs
